                         Case: 1:21-cv-05306 Document #: 1 Filed: 10/06/21 Page 1 of 16 PageID #:1                                                                                          stt
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Pro Se 2 (Rev. 12116) complaint and Request for                 Injunction                                        Cg,Qff Efell /'?4   l*               ;l    )   |fl   oOO   I   V2/   0    4+   N

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                                                                                                                 Case No.
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If the names of all the       ",,plaintiffs
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                                    r r,lliiil,',#'1" h o i s t i n g t h i s c o m p t a i nt.
                                                                                                                 Judge Robert M. Dor, Jr_
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please write "see attached" in lhe space and attach an additional                                                Magishate Judge Gabriel A. Fuentes
page with the      full list   of names.)
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                              Defendant(s)
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                                                                                                                                                            ){
(Write the full name of each defendant who is being sued. If the
names ofall the defendants cannotfit in the space above, please
write "see attached" in the space and attach an additional page                                                          THOMAS G. BRUTON
with the full list of names.)                                                                                        CLERK, U.S. D]STRICT COURT



                                                COMPLAINT AND REQUEST FOR INJUNCTION

I.            The Parties to This Complaint
              A.            The Plaintiff(s)

                            Provide the information below for each plaintiff named in the complaint. Attach additional pages                                                           if
                            needed.

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             B.             The Defendant(s)

                           Provide the information below for each defendant named in the complaint, whether the defendant is an
                           individual, a government agency, an organization, or a corporation. For an individual defendant,
                           include the person's job or title gf known). Attach additional pages if needed.

                                                                                                                                                                                   Page 1 of 6
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  Defendant No. I

         Name
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 Defendant No. 2
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 Defendant No.   3

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 Defendant No. 4
        Name
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Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. $ 1331, a case arising under the United States Constitution or federal lawi or treaties
is a federal question case. Under 28 U.S.C. $ 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction?                  @heck   ail that appty)

     Wederalquestion                                           n    Oiversity of citizenship


Fill out the paragraphs in this section that apply to this                  case.

A.      If the Basis for Jurisdiction Is a Federal Question

        List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
        are at issue in this case.




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B.      If the Basis for Jurisdiction Is Diversity of Citizenship

        l.       The Plaintiff(s)

                 a.         If the plaintiffis          an individual

                            The plaintiff,         fuame)                                         , is a citizen of the
                            State of fuame)



                b.          If the plaintiff is a corporation
                            The plaintiff,         lname)                                         , is incorporated
                            under the laws of the State of                 fuame)

                            and has its principal place of business in the State of fuame)




                (If more than one plaintiff is named in the comploint, attach an additional page providing the
                s am   e info r mat i on for   e   ac   h add it i onal p I aint iff. )

       2.       The Defendant(s)

                a.          If the defendant is an individual
                            The defendant,          (name)                                                     of
                                                                                                  , is a citizen
                           the State of    fuame)                                              Or is a citizen of
                            (foreign nation)




                                                                                                               Page 3   of   6
      Case: 1:21-cv-05306 Document #: 1 Filed: 10/06/21 Page 4 of 16 PageID #:4




                    b.      Ifthe defendant is a corporation
                            The defendant,   (name)                                                , is incorporated under
                            the laws of the State of   fuame)                                                , and has its
                            principal place of business in the State of   fuame)

                            Or is incorporated under the laws of 6oreign nation)
                            and has its principal place of business in (name)


                    (If more than one defendant is named in the complaint, attach an additional page providing the
                    same informat ion for e ach addit ional defendant. )

           J.       The Amount in Controversy

                    The amount in controversy-the amount the plaintiffclaims the defendant owes or the amount at
                    stake-is more than $75,000, not counting interest and costs of court, because (explain):




Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the injunction or other ielief sought. State how each defendant
was involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights,
including the dates and places of that involvement or conduct. If more than one claim is asserted, nimber each
claim and write a short and plain statement of each claim in a separate paragraph. Attach additional pages if
needed.

A.        Where did the events giving rise to your claim(s) occur?
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B.        what date and approximate time did the events giving rise to your claim(s) occur?
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_llq !q 2l(Bev. l2l16) Complaint   and Request for Iniunclion


           C.         What are the facts underlying your claim( s)?            @or example: Ll/hat happened to you? tlho did what?
                      Ll/as anyone else    involyed? Who else saw what happened?)


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IV.        Irreparable Injury

           Explain why monetary damages at a later time would not adequately compensate you for the injuries you
           sustained, are sustaining, or will sustain as a result of the events described above, or why such compensation
           could not be n

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          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you {re entitled to actual or
          punitive money damages.




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Pro Se 2 (Rev. 12116) Complqint and Request for Iqjunction




VI.       Certification and Closing

          Under Federal Rule of Civil Procedure I l, by signing below, I certift to the best of my knowledge, information,
          and belief that this complaint: (l) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modi$ing, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 1L

          A.         For Parties Without an Afforney

                     Iagree to provide the Clerk's Office with any changes to my address where case-related papers may be
                     served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                     in the dismissal of my case.


                     Date of signing:


                     Signature of Plaintiff
                     Printed Name of Plaintiff


          B.         For Attorneys
                                                             It
                     Date of   signing: ?, ,, *                   I


                     Signature of Attorney
                    Printed Name of Attorney
                    Bar Number
                    Name of Law Firm
                    Street Address

                    State and    Zip Code
                    Telephone Number
                    E-mail Address




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II. Basis for Jurisdiction

         A. List the specific federal statutes, federal treaties, and/or provisions of the
            United States Constitution that are at issue in this case.

            1.   18 U.S.C. ss 1001(2)
            2.   18 U.S.C. ss 371
            3.   Supreme Court case Santosky v. Kramer
            4. 4s C.F.R. 303.101(cX2)
            5. 28 U.S.C. ss 455(4)
            6. 25 C.F.R. ss 11.433
            7.   18 U.S.C. ss242
            8. Parenting Time Interference
            9. Administrative Mismanagement
            10. Constitutional Right to Parent (Troxel v. Granville)
            11. Amendment VIII
            12. Amendment XIV SECTION 1
            13.18 U.S.C. 3524



III. Statement of Claim
Defendant #1 Toni Pittman:

C.FACTS UNDERLYING MY CLAIM



   1.    It is a fact that on L0126120I5 the petitioner had a court order to pick up
     child Londyn Jones every other Saturday starting llll5ll2015 at 1lam until
     Sunday 5pm.The petitioner also had parenting time with the child every
     Tuesday, Thursday, and Friday from 3:30pm until 6pm and pick up/drop off
     location was at defendant mother's house. The defendant never abided by
     the court order.
  2. It is a fact that on0612712016 the defendant filed a false police report/order
     of protection against petitioner to keep petitioner away from the child. It is a
     fact that the case was dismissed due to lack of any evidence.
  3. It is a fact that on 08/08/2016 the petitioner had a modified court order to
     pick up child Londyn Jones from either Chicago Ridge Police Station
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   located at 10425 S. Ridgeland Chicago Ridge,IL. or from Small Stride
   Academy located at 10317 s. western chicago,IL. every Tuesday,
   Thursday, and Friday around 3p. The defendant never abided by the
    modified court order.
4. lt is a fact that on 081I2120L6 the defendant refused to bring the child or
    realrange for child to be dropped off at designated location via court order.
5. It is a fact that on 08/16/2016 the defendant refused to bring child or
    realrange for child to be dropped off at designated location via court order.
6. It is a fact that on 08125120L6 the defendant refused legal documents from
    petitioner.
7 . It is a fact that on 0912612016 the defendant was held in contempt of court

    for failing to follow court order regarding visitation of the child by the
    petitioner.
8. It is a fact the defendant removed the child from the school where the
    petitioner had a valid court order to pick the child up from without the
    petitioner's knowledge. This was against court order
9. It is a fact that on lll1412016 the petitioner had another modified court
    order to pick up child Londyn Jones after school on Friday from Turner
    Elementary School located at3847 w. 135th St. Robbins,IL. until 2pm on
    Saturday. The drop off location was at Fairplay grocery store on 87,h and
    cicero. The petitioner also had parenting time every Sunday from 1p*-
    8pm.The petitioner also had a court order to speak with the child on the
    phone every day. The defendant never abided by the new modified court
   order.
10.It is a fact the defendant removed the child from the new school where the
   petitioner had another valid court order to pick the child up from without the
   petitioner's knowledge. This was against court order.
11.It is afact that on 1010912019 the petitioner attempted to contact the child
   directly via cellphone, but the communication between the petitioner and the
   child was sabotaged by the defendant by taking the child's cellphone away,
   which was against court orders.
12.It is afact that on l0ll2l20l9 and 1012312019 the petitioner had a close
   friend to the petitioner's family text the child Londyn Jones, but there was
   no respond due to the fact the defendant took the child's phone away once
   the defendant found out that the petitioner had the child's phone number.
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   13.It is afact that on l2ll0l20l9 the petitioner received an email from the
        attorney of the defendant Brandi N. Pratt to NOT call or go to my child's
        school for any reason. The petitioner was also advised to NOT go to the
       defendant's home to see the child for any reason without any legitimate
       reasoning why. It is a fact that during this time the petitioner had a valid
       court order to see the child, valid court order to pick up the child up from
       Turner Elementary school, and valid court order to speak to the child on the
       phone every day. The defendant refused to abide by yet another court order.
   14.It is a fact that on 0L11012020 the defendant was charged with unlawful
       visitation interference at Bridgeview courthouse, ticket number L1375269.
   15. It is a fact that the defendant has refused to accept certified mail and legal
       documents from the petitioner several times regarding the whereabouts of
       the child.
   16. It is a fact that the petitioner received a text message from a mutual friend
       of the petitioner and defendant stating that the defendant would not give
       anyone the child's cellphone number and if anyone wanted to call the child
       then the defendant had to be notified first.
   l7.It is a fact that on 1011412020 the petitioner filed an emergency motion and
       affidavit for 50/50 custody of the child.
   18.It is afact the defendant has continuously kept the child Londyn Jones from
      the respondent for no reason at all.
   19.It is afact that even though the petitioner obtained a visitation order from the
      courts, the defendant still refused to abide by all court orders and kept the
      child separate from the petitioner by any means.
   20.1t is a fact that there is no proof EVER that the petitioner caused the child
      Londyn Jones any harm whatsoever.
   2l.It is a fact that the petitioner has attempted to contact the police department,
      hospital, and the courts to hold the defendant accountable for her actions of
      parental kidnapping, her disregard for every court order, and to be evaluated
      for a mental illness.


I have been excluded out of my child's life and violated of my Constitutional Right
to parent my child. The child's mother has disregarded every court order that was
granted without consequence. I am confident that my child has been held against
her will because I had an amazing relationship with my child before she was
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stripped from me and the child not being able to see her father has caused extreme
mental and irreparable damage to both me and the child.




STATEMENT OF CLAIM CONTINUED:


Defendan t #2 Kathaleen T. Groth (Lanahan) dlbl a Judge Magistrate,
Defendant #3 Stephen J. Connolly dlbla Judge Magistrate,
Defendant #4 Kathleen Burke dlblal Judge Magistrate

   1. It is afact that I, Jason M.   Jones, was held in contempt of court on or around
      06112t2017 by STEPHEN J. CONNOLLY in Bridgeview Courthouse for
      NOT showing proof that the petitioner was looking for employment. THIS
      IS NOT A CRIME

   2. It is a fact that the petitioner contacted
                                             the Chicago Police Department in
      order to quash my warrant but there was no record of the petitioner having a
      warrant stated by an officer from Chicago Police Department.

    3. It is a fact that on 05123112019I was notified by my attorney that a motion
       was filed to quash warrant/body attachment against me. This warrant was
       supposedly for $500 to quash, even though I never committed a crime and
       the Police Department never seen an active warrant for me in their system.

  4. lt is a fact that the respondent
                                    contacted the Chicago Police Department for
      the 2'd time to clear my warant but there was no record of an existing
      warrant.

   5.It is afactthat on 0712612019 a motion was filed on my behalf for me to
      have parenting time with my child and to establish a payment plan for child
      support.

   6. It is afactthat on 08112120L9 a motion from my lawyer was filed to request
      parenting time again, to establish payment plan, and to quash warrant/body
      attachment against me, even though there was not an active warrant for my
      arrest and I never committed a crime. ALL MOTIONS WERE IGNORED
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 7. It is afact that on 0912312019 the motion that was filed for establishing a
    payment plan, to determine arrears, and for parenting time was continued
      until            for an account review to determine how much I allegedly
              1210212019
      owed for child support, in which had nothing to do with having parenting
      time with my child and motion to quash body attachment was ignored.

 8.   It is afact that on 1210212019 I received an account review with the amount
      of arrears I allegedly owed for back child support, which was extremely
      inaccurate. It calculated money that I never earned but was obligated to pay.
      The motions that were filed on 07126119 for parenting time and to quash
      warrant/body attachment were never addressed and this matter was
      continued until 01/1 3 12020.

9. It is a fact that on 0111312020   -y   attorney, David Sternfield, withdrew from
      the case. During this same court date, the opposing lawyer Brandi N. Pratt
      told the presiding official that I wasn't paying child support, even though
      child support payments were coming directly from my check from work bi-
      weekly. With this information, Kathaleen T. Groth (Lanahan) suspended my
      existing visitation order from 2016 and suspended parenting time to see my
      child without any legitimate reasoning, hearing, or fundamentally fair
      procedure. It seems as if I wasn't paying the courts then I wasn't able to see
      my child.

10.It is a fact that on 0112212020,I was taken into custody by the Sheriffs
   office at Bridgeview courthouse in Bridgeview,Il. for being held in civil
   contempt of court on 0611212017 .I never seen proof of having a warrant out
   for my arest and the chicago Police Department never had a body
   attachment notification to arrest me because it wasn't in their system, but
   Kathaleen T. Groth (Lanahan) ordered me to pay a$5,000 CASH BoND to
   be released from Bridgeview courthouse, even though there was not any
  proof that I committed a crime.

11.It is afact that on 0212412020, I presented a copy of the civil contempt of
   court order that was entered on06ll2l20L7 , showing the amount in which it
   would cost me to quash body attachment, which was $5,000 D-bond,l}Vo
   cash to equal $500.
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12.It is also a fact that during court on0212412020,I filed a motion and
   verbally notified Kathaleen T. Groth (Lanahan) that there was a mistake
   made on her behalf and that a different bond amount was entered by her to
   quash the body attachment from 0611212017 inthe amount of $5,000 cash
   instead of $5,000 D-bond l07o equaling $500, which was stated on the
   initial contempt order, and the difference in the amount of $4,500 must be
   returned to me immediately. The presiding official Kathaleen T. Lanahan
   verbally told me that the civil contempt of court against me from 0611212017
   had "expired" and she increased the bond amount because "she felt like it"
   and it was deemed necessary to increase the amount of bond to $5,000 cash
  in order to be released without any additional or previous orders entered
  against me. My request for bond refund was denied.

13.It is also a fact that on0212412020I showed a copy of my check stubs from
   previous employers and income statements from the Illinois Department of
   Employment from the years of 2015 &2016 to prove to the courts that I
   never earned the amount of income that I was ordered to pay and the courts
   failed to provide the method on which their calculations were made. As a
   result of having the inability to afford the court ordered amount of child
   support, the arrears increased totaling in the amount of $8,376.00 as of
   05t22t20t7 .

14.It is afact that on 0310912020,I electronically filed a motion and affidavit
   for the disqualification of the presiding official Kathaleen T. Groth
   (Lanahan) for failing to remain impartial during an administrative hearing.
   The courts were obligated to respond under the obligation of contract clause
   under article 1 section 10 of the constitution for the United States of
   America or its silence is evidence of fraud upon the court.
15.It is also a fact that on0310912020,I electronically filed an affidavit to
   vacate the child support order 20I5D550062 for the State did not have
   personal jurisdiction over me and its silence would result in the court order
   being vacated and the matter discharged. My legal paperwork that was
   submitted was ignored.
16.It is afactthat opposing counsel was allotted an extreme amount of time to
   disclose documented facts stating when and how the State gained personal
  jurisdiction over the petitioner. These facts were never submitted or proven
   on the record. My legal paperwork that was submitted was ignored.
17.It is afact that on or around 05llll2020I electronically filed an affidavit for
   Dismissal with Prejudice for the child support order 2015D550062for the
   State lacked personal jurisdiction over the respondent and the opposing
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     counsel failed to prove when and how the State initially gained personal
    jurisdiction and its silence would result in the court order being vacated and
    the matter discharged. My legal paperwork that was submitted was ignored.
 18.It is also a fact that on or around 05llll2020,I electronically filed another
    affidavit for the disqualification of the presiding official Kathaleen T. Groth
    (Lanahan) for failing to remain impartial during an administrative hearing
    because the new presiding official, Kathleen Burke, verbally said my first
    affidavit for disqualification was "somehow lost", even though the legal
    documents were electronically filed.
 19.It is afact that on or around 1011312020 I electronically filed and
    resubmitted the affidavit for the disqualification of the presiding official
    Kathaleen T. Groth (Lanahan) for failing to remain impartial during an
    administrative hearing, Dismissal with prejudice of court order
    2015D550062 for the State lacked personal jurisdiction, and for the full
    bond reimbursement of $5,000 without deduction. My legal paperwork that
    was submitted was ignored.
20.It is a fact that on or around 101L412020 I electronically filed an affidavit to
    ensure my custodial rights and obtain 50/50 custody of my offspring. My
    legal paperwork that was submitted was ignored.
2l.lt is a fact that on or around 101L412020 I sent Demand Contracts to each
    address that I received mail from the Illinois Department of Healthcare and
    Family Services certified mail for them to provide proof of a Title IV-D debt
   that I allegedly owed and demanded proof of these records which I have a
   lawful right to examine and silence would result to cease and desist this
   matter immediately and reimburse me in the full amount of $9,055 .29, (the
   full dollar amount that child support coerced/stolen from me) which includes
   6Vo interest.
22.It is a fact that on or around llll8l2020I electronically filed an emergency
   motion to assert my parental and fundamental rights that I have to care,
   custody, and management of my offspring without interference from the
   courts attached with a screenshot copy of court case Santosky v. Kramer.My
   legal paperwork that was submitted was ignored.
23.It is also afact that on or around Llll8l2020 I electronically submitted a
   letter of intent to sue KATHALEEN T. (Groth) LANAHAN for 18 U.S.C.
   *242 Deprivation of rights under the color of law.
24.1t is a fact that on or around llll8l2020 I electronically filed a Violation
   Warning for Denial of Rights under Color of Law against KATHALEEN T.
   GROTH (LANAHAN) and KATHLEEN BURKE.
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25.It is a fact that on or around 1113012020 I electronically filed an affidavit for
    notice of default judgement for non-responses from the Illinois Department
    of Healthcare and Family Services.
26.It is a fact that on or around 1212312020 I electronically filed an affidavit for
    notice of default judgement for non-responses from the State for the State
    lacked personal jurisdiction and never proved jurisdiction for the record. My
    legal paperwork that was submitted was ignored.
27 .It is a fact that Kathleen Burke has failed to address any affidavit that has
    been filed thus far during the time she has presided in this matter. She has
    only ignored my paperwork and granted opposing counsel several
    continuances for 90 days, with disregard to the 30 days allotted to respond,
    without any appropriate reasoning.
28.\t is a fact that on 0210812021 during zoom court, now presiding again
    STEPHEN J. CONNOLLY verbally said he will NOT address any affidavit
    that I have submitted. He also has failed to address any and all affidavits that
    I have filed thus far during the time he has presided in this matter.
29.It is a fact that on or around 0510712021 I electronically filed an affidavit for
    Non-Appearance Request for Full Disclosure of All Bonds and other
    related/connected Documents and/or Instruments Pursuant to the provisions
    of the Freedom of Information Act and the Privacy Act for the presiding
    officials KATHALEEN T. GROTH (LANAHAN), KATHLEEN BURKE,
    and STEPHEN J. CONNOLLY. My legal paperwork that was submitted
    was ignored.
30.It is a fact that on or around 0510712021 I electronically filed an affidavit for
   notice of the last and final warning for the defendant Toni Pittman to return
   the child in my possession, for opposing counsel Brandi N. Pratt to vacate
   support order 2015D550062 for the State lacks jurisdiction and failed to
   prove jurisdiction, vacate arrears pertaining to court order 2015D550062,
   and to notify her client Toni Pittman to return my child to my possession,
   and for the Commissioner of Child Support Services Scott Lekan to vacate
   support order 2015D550062 and reimburse me in the full amount of
   $9,055.29, which includes 6Vo interest, without deduction.
31.It is a fact that on or around 0511312021 I electronically filed an affidavit
   requesting for the defendant to be evaluated by a Licensed Health
   Professional for disturbed behavioral patterns and signs of Mental Illness.
   My legal paperwork that was submitted was ignored.
32.1t is a fact that on or around 051L312020I electronically filed another
   Demand Contract to the Head of Division of Child Support Services Scott
   Lekan for him to provide proof of a Title IV-D debt that I allegedly owe.
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   33.It is a fact that on or around 0511912021 I electronically submitted proof of
      Request from the Freedom of Information Act for KATHALEEN T.
      (GROTH) LANAHAN, KATHLEEN BURKE, and STEPHEN J.
      CONNOLLY.
   34.It is a fact that on or around 0511912021 I electronically submitted a copy of
      The Department of Justice Letter to demonstrate my rights that must be
       protected.
   35.It is a fact that on 0811612021 Judge Carmody was presiding. This presiding
       official also refused to address any motions and affidavits that were filed.
       When petitioner asked would any affidavits be addressed on that court date,
       Judge Carmody declared that they would NOT and proceeded with the child
       support matter. My legal paperwork that was submitted was ignored.
   36.It is a fact that every affidavit that I have submitted that has been supported
       with exhibits/documents and proof have been ignored and/or proper
       responses/rebuttals have not been answered or sent back by the courts, the
       petitioner, opposing counsel, or the commissioner for child Support
       Services.
   37 .It is a fact that I do not have a contract with the Title IV-D Child Suppon
       Program, the courts, the petitioner, or opposing counsel.
   38.It is a fact that I have exhausted all remedies to resolve this matter.




V. PRAYER FOR RELIEF

WHEREFORE, The petitioner respectfully requests that the court:

  -    Be fair and just
  -    Reinstate and modify a visitation order to see my child wherever she is
       without restriction or interference
  -    Grant/Reinstate daily phone privileges to speak with my child everyday
       wherever she is without restriction or interference
  -    Display consequence if my child is taken away from me and against the
       child's will by the defendants and against any and all court orders
  -    Grant the petitioner a fair hearing for 50/50 joint custody of my child
  -    Subpoena the defendant Toni Pittman for a mental health evaluation by a
       licensed health professional
  -    Order a reimbursement from Child Support enforcement unit in the full
       amount of $9,055 .29,6Vo interest included, that was coerced/stolen from me
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      due to the fact that the petitioner does not have a contract with the Child
      Support program and they have failed to provide proof of jurisdiction
      order each defendant to pay $25,000 USD each to the petitioner for the
      irreparable damages, mental anguish, constitutional violations, intentional
      infliction of emotional distress, and unalienable rights they have violated and
      deprived the petitioner of over the duration of 6 years.




Dated this 24th day of SEPTEMBER 2021, A.D.




                                  Jones, Jason M., Affiant
                                  clo 302 W. Basic Rd 7
                                  HENDERSON, NEVADA 890                        I5




                                   JURAT
sto\a- oG ArJ c.rr,.!-1 ,fl ctq.\-
Subscribed and sworn to before me this 24th day of September 2021.
WITNESS my hand and official seal:




 flq-\>                                                    MATTSMMI
                                                         NOTAHYPUBUC
                                                        STATE OF NEVADA
                                                 My Commision Expiles:   02{ 2-2024
                                                     Certifi cate No: 12-7 493-1
